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                                                                                                       United States District Court
                                                                                                         Southern District of Texas

                                                                                                            ENTERED
                                                                                                          January 11, 2021
                                 UNITED STATES DISTRICT COURT
                                                                                                         Nathan Ochsner, Clerk
                                  SOUTHERN DISTRICT OF TEXAS
                                      MCALLEN DIVISION

UNITED STATES OF AMERICA,                                  §
                                                           §
VS.                                                        § CRIMINAL ACTION NO. 7:20-CR-1111-1,3
                                                           §
RODRIGO JUVENAL DE JESUS                                   §
BELTRAN; ANDRES BELTRAN, JR.                               §
                                                           §
             Defendants.                                   §

                                          OPINION AND ORDER

         The Court now considers the Motion to Suppress Illegally Obtained Evidence and

Identification of Defendant filed by Andres Beltran, Jr.;1 Defendant Rodrigo Beltran’s Motion to

Suppress Illegally Obtained Evidence and Request for Evidentiary Hearing; 2 Defendant Rodrigo

Beltran’s Motion to Adopt Co-Defendants’ Motions;3 and two separate Government’s Response

to Defendant’s Motion to Suppress Evidence.4 The Court considers each motion to suppress

separately but sets out the background generally.

         I        Background5

         Brothers Andres Beltran, Jr. (“Andres”) and Rodrigo Beltran (“Rodrigo”) 6 (jointly

“Defendants”) each stand charged with one count of conspiracy to transport undocumented

aliens and three counts of transporting undocumented aliens. These charges stem from an

ongoing investigation over the course of more than a year. During the investigation, Homeland

Security Investigators (“HIS”) and Border Patrol Agents (“BPA”) identified La Mosquita/La
1
  Dkt. No. 105.
2
  Dkt. No. 106.
3
  Dkt. No. 107.
4
  Dkt. Nos. 108 & 109.
5
  Since Defendants do not assert factual disputes in their motions, the Court cites to the facts set out in the
Government’s response, unless otherwise stated.
6
  Ordinarily, the Court would not use a first name to refer to a defendant but since both have the same last name, it is
necessary to avoid confusion.

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Mosca Ranch, located about 7.5 miles from the U.S./Mexican border, as an alien stash house,

and Defendants as potential alien smugglers. Defendants, who resided in Houston, were at times

seen at the Oak Tree Apartments in Rio Grande City, a location determined by BPA to be a

congregating point before a smuggling operation. Over the course of the investigation, BPA had

various encounters with Defendants who were, at various times, found in the vicinity of alien

apprehensions and in vehicles used for alien smuggling/scouting.

       On June 8, 2020 during surveillance of these operations, BPA observed four vehicles

congregating at the Oak Tree Apartments in what BPA believed was an upcoming alien

smuggling operation. Through surveillance, investigators observed all four vehicles eventually

make their way to or near La Mosquita/La Mosca Ranch. Aliens were loaded unto two of those

vehicles, a red F-250 truck and red Chevrolet truck which were then seen traveling north for

approximately 20 miles. These two trucks then pulled over to the side of the road and multiple

individuals fled from the trucks. BPA were able to apprehend 25 aliens who had been transported

in those two trucks. On the evening of the same day, Starr County Investigator Juan Guerra Jr.

and Deputy Erika Lara received information about the day’s alien smuggling events and, in

particular, of the involvement of the red F-250 truck. Investigator Guerra and Deputy Lara

subsequently stopped the red F-250 truck for an inoperable third stop light. The driver of the red

F-250 was identified as Rodrigo Beltran. He was arrested for alien smuggling. It is this stop that

Rodrigo seeks to suppress although he does not contend that he gave any statements or that any

evidence was found in the vehicle.

       At approximately the same time that Rodrigo was stopped, BPA conducted a stop of the

fourth vehicle, a Silver Ford Ranger, earlier observed at the Oak Tree Apartments and then near

La Mosquita/La Mosca Ranch. Andres was identified as the driver of the Ford Ranger.



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According to Andres, he was taken to the Hebbronville Border Patrol Station but gave no

statement and was released without arrest. In his motion to suppress, Andres also claims that he

was similarly stopped and/or detained on May 1, 2019; October 16, 2019; February 16, 2020;

May 4, 2020; and May 22, 2020. Andres does not claim that he gave any statements on any of

those occasions or that any evidence was discovered as a result of those stops. He contends only

that he was identified on each of those occasions.

        II       Motions

        a. Rodrigo Beltran’s Motion to Suppress

        First, the Court notes that Rodrigo’s motion does not set forth a factual dispute. Fifth

Circuit precedent and CrLR 12.2 of the Locals Rules of the United States District Court for the

Southern District of Texas require that a motion set forth with specificity the material facts at

issue. In particular, the Fifth Circuit has held that “[f]actual allegations set forth in the

defendant's motion, including any accompanying affidavits, must be ‘sufficiently definite,

specific, detailed, and nonconjectural, to enable the court to conclude that a substantial claim is

presented.’”7 Furthermore, “[g]eneral or conclusionary assertions, founded upon mere suspicion

or conjecture, will not suffice.”8 “Inherent in these flexible guidelines is a judicial recognition

that ‘the determination of whether a hearing is required [on a motion to suppress] is necessarily

dependent upon the particular facts which attend a particular request, and the district court is

properly left with a certain amount of discretion in this regard.’”9 Therefore, “[e]videntiary




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  United States v. Poe, 462 F.2d 195, 197 (5th Cir. 1972) (quoting from Cohen v. United States, 378 F.2d 751, 761
(9th Cir.), cert. denied, 389 U.S. 897 (1967)).
8
  United States v. Harrelson, 705 F.2d 733, 737 (5th Cir. 1983).
9
  Id. (Citation omitted).

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hearings are not granted as a matter of course, but are held only when the defendant alleges

sufficient facts which, if proven, would justify relief.”10

        Here, Rodrigo argues only a legal issue. Thus, no hearing is necessary and the request for

such is DENIED. As to the legal issue, Rodrigo contends only that the stop was illegal because

he was stopped for an inoperable third stoplight but that he was in compliance with Texas

Transportation Code § 547.323 which requires only two stoplights. In response, the Government

cites to Texas Transportation Code § 547.3215, which requires compliance with federal

standards set out in the Code of Federal Regulation, specifically 49 C.F.R. § 571.108. The

Government correctly notes that these federal regulations, incorporated into Texas law, require a

high-mounted stop light on the vehicle driven by Andres on the day of the stop.11 Rodrigo does

not contend that he had an operable third stop light. Thus, it is clear that Investigator Guerra and

Deputy Lara had a reasonable basis for believing that Rodrigo had violated the Texas

Transportation Code by driving a vehicle with an inoperable third stop light. Beyond the claim

that the stop was illegal, Rodrigo does not contend that his arrest for alien smuggling was

without probable cause. Thus, his motion to suppress is DENIED.

        b. Andres Beltran, Jr.’s Motion to Suppress

        Like Rodrigo, Andres’ motion also fails to set forth any disputed factual issues beyond

his general conclusory contention that his proximity to these events was purely coincidental. As

the Court has already noted, factual allegations must be “‘sufficiently definite, specific, detailed,




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  Id. (Citing United States v. Smith, 546 F.2d 1275 (5th Cir.1977)); United States v. Poe, 462 F.2d 195.
11
  See Saenz v. State, 564 S.W.3d 469, 473–74 (Tex. App.—El Paso 2018, no pet.) (“For those vehicles that are also
less than “2032 MM” in overall width having a gross vehicle weight rating of 10,000 pounds or less, the vehicle is
required to be equipped with a third lamp in the form of a high-mounted stoplamp mounted ‘[o]n the rear including
glazing, with the lamp center on the vertical centerline as viewed from the rear.’ 49 C.F.R. § 571.3(b), § 571.108
S6.1, S7.3.1, Table I-a.”)

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and nonconjectural, to enable the court to conclude that a substantial claim is presented.’”12

Andres’ “[g]eneral or conclusionary assertions, founded upon mere suspicion or conjecture, will

not suffice.”13 Again, as previously noted, “[e]videntiary hearings are not granted as a matter of

course, but are held only when the defendant alleges sufficient facts which, if proven, would

justify relief.”14 Additionally, CrLR 12.2 requires that a motion raising factual disputes be

verified or supported by affidavit.

         Here, the motion is conclusory only. It does not set out any disputed facts, accordingly no

hearing is necessary.

         Andres’ motion also suffers from another fatal flaw. That is, Andres does not set out what

it is he seeks to supress. The Court can only glean that Andres seeks to suppress his identify as

established on each of the occasions when he was stopped. However, it is well recognized in the

Fifth Circuit, and indeed in other courts, that identity is not suppressible. In United States v.

Roque-Villanueva, the Fifth Circuit held that “[e]ven if the Defendant was illegally stopped,” his

identity was not suppressible.15 The Fifth Circuit recognized that even the Supreme Court has

held that “‘[t]he ‘body’ or identity of a defendant or respondent in a criminal or civil proceeding

is never itself suppressible as a fruit of an unlawful arrest.’”16

         Thus, as Andres does not set forth any disputed facts, does not state what he seeks to

suppress and does present any legal issues, his motion to suppress is DENIED.




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   United States v. Poe, 462 F.2d at 197 (quoting from Cohen v. United States, 378 F.2d 751, 761 (9th Cir.), cert.
denied, 389 U.S. 897 (1967)).
13
   United States v. Harrelson, 705 F.2d at 737.
14
   Id. (Citing United States v. Smith, 546 F.2d 1275 (5th Cir.1977)); United States v. Poe, 462 F.2d 195.
15
   175 F.3d 345, 346 (5th Cir. 1999)
16
   Id. (Citing In I.N.S. v. Lopez–Mendoza, 468 U.S. 1032, 3483 (1984)).



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           c. Rodrigo Beltran’s Motion to Adopt

           Rodrigo has also filed a one paragraph motion seeking to adopt any pre-trial motions

filed by his co-defendants. The Court DENIES this motion as pre-trial motions should be made

by a defendant only when necessary and should be particularized to that defendant.

           III.    Conclusion

           For the forgoing reasons, the motions to suppress17 are DENIED, and the motion to

adopt18 is similarly DENIED.

           IT IS SO ORDERED.

           DONE at McAllen, Texas, this 11th day of January, 2021.


                                                  ___________________________________
                                                  Micaela Alvarez
                                                  United States District Judge




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     DKt. Nos. 105 & 106.
18
     Dkt. No. 107.

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